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                                           May 4, 2022


FILED VIA EMAIL

The Honorable Sarah Netburn
United States Magistrate Judge
Southern District of New York
40 Foley Square
New York, NY 10007

       Re:     In Re Non-Disclosure Orders to Electronic Communication Service Providers and
               Remote Computing Service Providers in Criminal Investigation Assigned USAO
               No. 2020R01153, Case No. 22 MAG 2364 (SN).1

Dear Magistrate Judge Netburn:

        On behalf of non-profit news media organization Project Veritas and its founding journalist
and President James O’Keefe, we move to clarify the Court’s March 10, 2022, Order lifting the 18
U.S.C. § 2705(b) gag orders in the above-referenced matters. Pursuant to a series of subpoenas,
18 U.S.C. § 2703(d) orders, and warrants, prosecutors engaged in a campaign to compel Project
Veritas’s providers to secretly produce voluminous records. These included attorney-client
privileged communications, First Amendment privileged material, and reporter’s privileged
material.

        This case involves unprecedented government invasions into the newsgathering work of
Project Veritas, which lawfully received an abandoned diary and other personal effects previously
belonging to an adult child of then-presidential candidate Joe Biden. Project Veritas investigated
a newsworthy story, and ultimately chose not to publish it. Just like the recent news that reporter
Josh Gerstein and Politico lawfully received a United States Supreme Court draft opinion
overturning Roe v. Wade, James O’Keefe and Project Veritas lawfully received Ashley Biden’s
diary. There is no distinction between the two journalists’ conduct, except that Mr. O’Keefe
decided not to publish the Ashley Biden news story.


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 Related cases: In re Search Warrants dated November 3 and 5, 2021, Case No. 21 Misc. 00813, 21 Misc.
819, and 21 Misc. 825, and numerous case numbers related to demands with the assigned USAO No.
2020R01153, we are currently aware of: 20 MAG 12611, 20 MAG 12613, 20 MAG 12614, 20 MAG 12623,
20 MAG 13189, 21 MAG 548, 21 MAG 763, 21 MAG 992, 21 MAG 1867, 21 MAG 2537, 21 MAG 2711,
21 MAG 2873, and 21 MAG 3384.


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        The government’s First Amendment-infringing seizures are currently being litigated before
District Judge Analisa Torres. See In re Search Warrants dated November 3 and 5, 2021, Case
No. 21 Misc. 00813, 21 Misc. 819, and 21 Misc. 825. Unfortunately, the aggrieved journalists are
stymied in bringing all relevant facts about the government’s invasions to the District Court’s
attention. That is because even after Your Honor’s March 10, 2022 Order, some providers believe
they are prohibited from providing Project Veritas and its journalists with full information
regarding what the government compelled, and what the provider produced. This is the result of
the prosecutors crafting a deceptive proposed order (captioned as “modifying” the gag orders
instead of lifting them, which the Order in fact does). Project Veritas and James O’Keefe request
entry of the proposed order attached as Exhibit A, to make it clear Project Veritas’s providers that
they can communicate freely with Project Veritas and the aggrieved journalists.

  The Government’s Investigation into Joe Biden’s 40-Year Old Daughter’s Abandoned
                       Diary and Its Pursuit of a Non-Crime

         We have addressed the factual background in other filings and adopt that discussion by
reference. See 3/30/22 Petition for Return of Property Pursuant to Rule 41(g), In re Search Warrant
dated November 5, Case No. 21 MISC. 813 (Docket No. 48) at 3-7. In summary, Project Veritas
“is a national media organization dedicated to ‘undercover investigative journalism.’” Project
Veritas Action Fund v. Rollins, 982 F.3d 813, 817 (1st Cir. 2020). In early September 2020, Project
Veritas received a news tip, on an established tip line, explaining that sources had found a diary
written by Ashley Biden, the forty-year-old daughter of then-presidential candidate Joe Biden. One
of the sources had moved into a house where Ashley Biden had previously stayed temporarily.
Ms. Biden had left the diary and other items behind when she vacated the house, abandoning them.
As described by the sources, the contents of the abandoned diary were newsworthy. They were
right: the diary’s allegations about Joe Biden’s conduct towards his daughter when she was a child
are serious.

        By the time the sources contacted Project Veritas, the abandoned diary and other
belongings were in their possession. Project Veritas lawfully received these materials from the
sources. Project Veritas researched and investigated the potential news story about the diary and
attempted to authenticate the abandoned diary and its contents. Ultimately, Project Veritas chose
not to publish its reporting and in early November 2020, arranged for the delivery of the diary and
other abandoned items to local law enforcement in Florida.

        Even under the most aggressive view of the facts by the government, there is no potential
crime to investigate, only First Amendment-protected newsgathering. Bartnicki v. Vopper, 532
U.S. 514 (2001) held that journalists may lawfully receive material from sources even if that
material is illegally obtained by sources themselves. Its progeny, including here in the Southern
District of New York, have been even more protective of this First Amendment right. See
Democratic National Cmte. v. Russian Federation, 392 F.Supp.3d 410, 434-36 (S.D.N.Y. 2021)
(in Wikileaks controversy, holding that per Bartnicki no liability could attach even where there
was active solicitation and encouraged delivery of stolen materials); Allen v. Beirich, 2021 WL
2911736 at *4-5 (4th Cir. July 12, 2021) (Southern Poverty Law Center purchased material stolen
from a white supremacist organization by its former accountant, but because SPLC interacted with
the former accountant and paid for the material after it had already been stolen, no liability could


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attach); Jean v. Massachusetts State Police, 492 F.3d 24, 31 (1st Cir. 2007) (Publishers may,
without liability or punishment, even be in “active collaboration” or may aggressively “solicit[]
stolen information” because those are “common journalistic practices.”).

        James O’Keefe, Project Veritas, and its journalists committed no crime and at all times
conducted their news gathering in a lawful, ethical, and constitutionally protected manner. While
the government continues to peddle the lie that the diary - or other abandoned belongings - were
“stolen,” it has produced no support for its false claim, and for good reason: the truth is, the diary
and personal effects were not stolen. At the end of the day, the government’s utilization of the “s”
word is a red herring designed to take the Court’s eye off the First Amendment-protected conduct
of Project Veritas in investigating a newsworthy story about the Biden family and the fact that the
government’s attack on Project Veritas is unlawful. Because even if the sources had “stolen” the
diary and personal effects, it does not matter. Project Veritas had no role or participation in the
acquisition of the diary or any personal effects and indeed, the sources already had access and
possession to all of it before Project Veritas was ever contacted. This is a non-crime, but a
government desecration of the First Amendment.

     The Government’s Secret Demands that Providers Produce Project Veritas’s Data

        On October 29, 2020, Ashley Biden’s lead lawyer Roberta Kaplan informed Project
Veritas’s Chief Legal Officer Jered Ede that she would refer the matter to the United States
Attorney’s Office for the Southern District of New York (“USAO”). It is unfortunately not
surprising that Ashley Biden’s lawyers were able to obtain a prompt audience with, and hasty and
extreme action from, the USAO. On November 22, 2020, the USAO issued its first secret
subpoena. The 17 days clearly provides insufficient time for the USAO to obtain the requisite
permission from Main Justice to attack a journalist, see 28 C.F.R. § 50.10 and Justice Manual 9-
13.400, particularly because on December 14, 2020, then-Attorney General Barr announced his
resignation.

        The government, we are confident, did not follow or play by the rules here. Aside from the
self-evident political power wielded by the Biden family, Ashley Biden’s lead lawyer Roberta
Kaplan is connected to then-Acting United States Attorney Strauss through Ms. Strauss’s former
daughter-in-law and top Andrew Cuomo aide, Melissa DeRosa. Attorney Kaplan and Ms. Strauss’s
daughter-in-law DeRosa were both part of the unsuccessful effort to shield Governor Andrew
Cuomo from consequences for his serial sexual harassment of women, including by discrediting
his victims. See Report of Investigation into Allegations of Sexual Harassment by Governor
Andrew M. Cuomo (Aug. 3, 2021) at 109 (Attorney Kaplan and DeRosa’s work on a draft op-ed
designed to discredit one of Cuomo’s victims), and as to DeRosa’s numerous other efforts to
discredit         sexual       harassment         victims,      passim,        available        at
https://ag.ny.gov/sites/default/files/2021.08.03_nyag_-_investigative_report.pdf.        Attorney
Kaplan also represented DeRosa in the New York Attorney General’s investigation into Cuomo’s
serial harassment, which concluded that Cuomo “sexually harassed a number of current and former
New York State employees” and that his Executive Chamber’s culture was “filled with fear and
intimidation” which helped “normalize[e] the Governor’s frequent flirtations and gender-based
comments” and “contributed to the conditions that allowed the sexual harassment to occur and
persist.” Id. at 109.


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        Having been backed down by Microsoft’s lawyers, the government submitted a proposed
order which Your Honor signed, lifting the gag orders. Once Microsoft received a copy of the
Order, it informed Project Veritas of what had occurred. Over the next several weeks, other
providers sent barebones disclosures to Project Veritas or its journalists of similar invasions by the
government. Only Microsoft, however, recognizes the fact that it can freely communicate with
Project Veritas about these matters.

        The problem is that these prosecutors were manipulative in constructing the proposed
order’s phrasing, adopting an approach that would remove the gag order (thereby giving the veneer
that the government was acting properly) but using language that might mislead at least some
providers to believe they could only provide Project Veritas with limited information. The
prosecutors asked for an order permitting providers “to disclose the existence of the NDOs and the
legal process that was attached thereto to any other person, to the extent the period of non-
disclosure under the NDOs has not already lapsed.” Exhibit B, Government 3/9/22 Letter and
Signed Order. The proposed order however, was misleadingly captioned “Order Modifying Non-
Disclosure Orders Issued Pursuant to 18 U.S.C. § 2705(b).” Id., attachment. The signed Order
reflects this language. Id.

        In numerous instances, the prosecutors have succeeded in confusing or misleading
providers. Uber states it “cannot provide . . . additional information with this matter,” other than
the relevant dates when the demand was made, when the gag order was vacated, and the relevant
FBI and USAO personnel who made the request. Composite Exhibit C, Provider
Communications. When asked directly for copies of what it produced to law enforcement Google
articulated the erroneous belief that it “is not able to provide any produced documents sent to law
enforcement.” Id. Google added the absurd comment, “Please request those materials from the law
enforcement agency directly.” Id. Apple has likewise stonewalled: “If you have questions about
the legal request or the information requested, please contact the [Federal Bureau of
Investigation].” Id.

        Providers’ misapprehensions about what they can communicate to the aggrieved journalists
stymies the ability of Project Veritas and its journalists to protect their privileges and First
Amendment rights. And while Project Veritas and the aggrieved journalists have moved for the
return of all of their seized property pursuant to Rule 41(g) of the Federal Rules of Procedure, see
In re Search Warrant dated November 5, 2021 (Docket No. 70), they have done so without
knowing the full extent of the government’s invasions.

       The undersigned have conferred with the prosecutors regarding the relief requested but
have not come to an agreement.

                                             Conclusion

        The aggrieved journalists’ abilities to assert their constitutional rights are hindered if they
cannot bring all relevant facts regarding the scope of the government’s invasion to the district
court’s attention. Accordingly, we request that the Court enter an Order in the form proposed as
Exhibit A, making it explicit that:


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       (1) the gag orders are lifted and vacated in their entirety,
       (2) the providers may give copies of what they produced to the government to Project
Veritas, the aggrieved journalists, and their lawyers, and
       (3) the providers may communicate freely about this matter with Project Veritas, the
aggrieved journalists, and their lawyers.




                                                 Respectfully submitted,

                                                 CALLI LAW, LLC

                                                                /s/
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                                                 Project Veritas and Project
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 ben@barrklein.com                         steve@barrklein.com

 Admitted Pro Hac Vice in Related Matter   Admitted Pro Hac Vice in Related Matter


cc:   All Counsel of Record (via Email)




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                EXHIBIT A
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 In Re Non-Disclosure Orders to Electronic                                     22 Mag. 2364
 Communication Service Providers and                          Order Vacating Non-Disclosure
 Remote Computing Service Providers in                            Orders Issued Pursuant to
 Criminal Investigation Assigned USAO No.                                18 U.S.C. § 2705(b)
 2020R01153


       Upon the application of Project Veritas and James O’Keefe, it is hereby ORDERED:
      1.       The Court clarifies that the non-disclosure orders issued pursuant to 18 U.S.C. §
2705(b) in all matters with the investigation assigned USAO NO. 2020R01153 were vacated as of
March 10, 2022.
        2.     The electronic communications services and/or remote computing services to
whom non-disclosure orders bearing U.S. Attorney’s Office (“USAO”) number 2020R01153 (the
“NDOs”) were issued pursuant to 18 U.S.C. § 2705(b) in connection with the above referenced
investigation may freely communicate with the account holders, including Project Veritas, James
O’Keefe, and the affected journalists, or their counsel.
        3.     For the avoidance of doubt, the Court makes it explicit that providers may provide
to the account holders or their lawyers any materials or information provided by the provider to
the government, or by the government to the provider.
Dated: New York, New York
       May ____, 2022


                                                    HONORABLE SARAH NETBURN
                                                    UNITED STATES MAGISTRATE JUDGE
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                EXHIBIT B
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                                                     U.S. Department of Justice

                                                     United States Attorney
                                                     Southern District of New York
                                                    The Silvio J. Mollo Building
                                                    One Saint Andrew’s Plaza
                                                    New York, New York 10007



                                                     March 9, 2022

BY EMAIL

The Honorable Sarah Netburn
United States Magistrate Judge
Southern District of New York
40 Foley Square
New York, New York 10007

       Re:     In Re Non-Disclosure Orders to Electronic Communication Service Providers
               and Remote Computing Service Providers in Criminal Investigation Assigned
               USAO No. 2020R01153

Dear Judge Netburn:

        The Government respectfully requests that the Court enter the attached proposed order
permitting electronic communications service and/or remote computing service providers to whom
non-disclosure orders (the “NDOs”) bearing U.S. Attorney’s Office (“USAO”) number
2020R01153 (the “NDOs”) were issued pursuant to 18 U.S.C. § 2705(b) in connection with the
above-referenced investigation to disclose the existence of the NDOs and the legal process that
was attached thereto to any other person, to the extent the period of non-disclosure under the NDOs
has not already lapsed.

                                             Respectfully submitted,

                                             DAMIAN WILLIAMS
                                             United States Attorney


                                         By: /s/
                                            Jacqueline Kelly
                                            Mitzi Steiner
                                            Robert B. Sobelman
                                            Assistant United States Attorneys
                                            (212) 637-2456/2284/2616

Attachment
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                EXHIBIT C
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Dear Account Holder,

Through your correspondence, we understand that you have questions regarding the legal process served upon Uber related to your account. As we
stated in our original notice to you on March 15, 2022, we receive legal process requests from law enforcement to provide them with information
about Uber customers, drivers, or other users of the Uber app. We are required by law to provide data responsive to the legal process submitted.

The subpoena that we received seeking information about your account was originally accompanied by a court order prohibiting us from notifying
you of law enforcement’s data request. We were notified on March 15, 2022 that the court order prohibiting notification has been vacated and we
thereafter notified you about the government data request related to your account on March 15, 2022.

Pursuant to your questions, and in an effort to provide additional information, we wanted to share that the subpoena seeking information about your
account was received on February 18, 2021. It was issued by Assistant United States Attorney Robert B. Sobelman, U.S. Department of Justice -
Southern District of New York, (212) 637-2200, and served upon Uber by Special Agent Michael Pereless, Federal Bureau of Investigation, (212)
384-1000. Responsive information was provided to law enforcement on March 22, 2021.

Please note that we cannot provide you with any additional information about this matter, nor are we able to provide legal advice. Please contact
Assistant United States Attorney Robert B. Sobelman or Special Agent Michael Pereless should you have further questions related to the subpoena
issued.

Thank you,
Public Safety Response Team




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